. _'.),.
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                                       NOV 1 9 201H                 U.S. Department of Justice
                                                                    United States Attorney
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                                                                    November 1, 2 1 8 ~                                     I
           Honorable Anne E. Thompson
           United States District Judge
           402 E. State Street
           Trenton, New Jersey 08608                                                                                /

                      Re:        United States v. Lidya Radin, Crim. No . .18-:-4:1--52 (AET)                   q   (!~
                                 (Appeal from Mag. No. 17-4519 {TJB))                                   11 1
           Dear Judge Thompson:

                The Gover11ment is in receipt of the "Omibus [sic] Motions: To Disqualify
           AUSA Gribko, Judge Thompson, & Court-Appointed Attorney Davis & Motion
           To Compel Government To Serve "At Call" Audio/Transcripts, & Motion For 60
           Day Adjournment To Allow The Government Serve & To Find A New Attorney, &
           Pending Review By A Certified ADA Advocate, & Other Relief' filed by Lidya
           Radin on October 26, 2018 (the "Omnibus Motion"). [Docket #7).

                 The Omnibus Motion was filed after Radin failed to file any brief (other
           than her August 2, 2018 Notice of Appeal [Docket# 1), which she vehemently
           denies was a brief), contrary to Local Cri.minal Rule 58.1. Radin also failed to
           appear for oral argument, despite the fact that she was well aware that it had
           been scheduled for October 26, 2018 (See Omnibus Motion p. 2; Radin's
           Affidavit in support of Omnibus Motion, p. 2 ,r 11; Exhibit 1 to Omnibus
           Motion (showing Radin knew at least as early as October 23, 2018)). Indeed,
           the Omnibus Motion appears to have been received by the Clerk's Office and
           docketed after the Court affirmed the decision of Magistrate Judge
           Bongiovanni. [Docket # 6).

                  The Court should not consider the Omnibus Motion given Radin's refusal
           to abide by the schedule set by the Court on September 21, 2018, her failure to
           comply with the Local Rules, her failure to file ap.y papers at all prior to the
           Court's Order affirming the decision of Magistrate Judge Bongiovanni, and her
           failure to appear at oral argument. Radin's complete failure to comply with
           Local Criminal Rule 58.1 and prosecute the appeal is not excused by her pro se
           status. See Losacco v. City of Middletown, 71 F.3d 88, 92 (2d Cir. 1995)(It is
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Hon. Anne E. Thompson
November 1, 2018
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well-settled that "prose litigants should be afforded latitude," but "they
generally are required to infoI'lll. themselves regarding procedural rules and to
comply with them." (citations omitted)).

       Moreover, Radin's first two demands are II1.oot. The transcripts that she
seeks were attached to the Government's October 12, 2018 brief. (See
Government Brief [Docket# 4], Exhibits 1, 2, 3 and 4). The Government's
Brief and attached Exhibits was served on Radin via the Court's Electronic
Case Filing (''ECF") system as well as by Federal Express, which Radin admits
she received on October 15, 2018. (Radin's Affidavit in support of Oinnib'us
Motion, p. 2 1 18). Indeed Radin attached a copy of pages from those
transcripts to her Omnibus Motion (See, Exhibit 2 to Omnibus Motion (which
indicates it was printed from the ECF Filing of the Government Brief)). Thus,
Radin.'s demands that the Government provide those transcripts and. for a stay
for them to be provided are moot (Omnibus Motion p. 9, demands 1 and 2).

      Radin's remaining demands to strike the Government's Brief, to sanction
me and for other relief (Omnibus Motion p. 9, demands 3, 4 and 5) also appear
to be based at least in part on her claimed lack of those same transcripts, in
which case they are similarly moot To the extent Radin's incoherent
arguments can be construed to have some other purported basis they are
baseless, nonsensical and frivolous. If the Court requites further response by
the Governillent to those demands, the Government respectfully requests one
week to prepare any requested response.

      Accordingly, Defendant Liciya Radin's Omnibus Motions should be
denied.

                                            Respectfully submitted,
                                            CRAIG CARPENITO
                                            United States Attorney

                                            R. Joseph Gribko
                                            By:- R. Joseph Gribko
                                            Assistant u·. S. Attorney


cc: Lidya Radin (by Federal Express)
    Mark Davis, Esq. (by e-mail)
